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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )
            v.                               )     No. S1-4:11CR246 CDP
                                             )                     (FRB)
CURTIS COLE,                                 )
                                             )
                     Defendant.              )

                              MEMORANDUM, ORDER,
                          REPORT AND RECOMMENDATION
                      OF UNITED STATES MAGISTRATE JUDGE


            All pretrial motions in the above cause were referred to

the undersigned United States Magistrate Judge pursuant to 28

U.S.C. § 636(b).         Defendant Curtis Cole filed several pretrial

motions.    A hearing was held on the motions on August 22, 2012.                No

testimony       or   evidence    was    presented   by   either   party    on   the

motions.1

     1.     Motion To Dismiss For Prosecutorial Delay Pursuant To
            Rule 48(b) (Docket No. 911)

            In his motion to dismiss defendant Cole alleges that the
government’s delay in charging him has prejudiced him in two

respects.       “First, it prevents Defendant from properly preparing

for trial and reviewing (voluminous discovery) supplied by the

government.          Secondly,     it    hampers    Defendant     from    properly

interviewing any witnesses to the January 2, 2011 alleged murder in

that witnesses’ memories obviously fade over time making interviews



            1
           Defendant Cole also filed a Motion For Severance. That
motion is addressed in a separate Report And Recommendation.
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extremely difficult.”      Defendant Cole goes on to claim that the

delay by the government was “purposeful”.

            The government has responded to the defendant’s motion.

In its response the government notes that information relating to

some of the matters with which the defendant is charged, and this

particular defendant’s involvement in those matters, was not known

to the prosecutors and investigators of this case at the time the

original indictment was filed in this case. The government asserts

that information relating to this defendant was revealed after some

defendants named in the original indictment began cooperating with

the government, and after a witness came forward with additional

evidence.

            Defendant Cole moves to dismiss the indictment pursuant

to Rule 48(b), Federal Rules of Criminal Procedure, which provides

that “The court may dismiss an indictment . . . if unnecessary

delay occurs in: (1) presenting a charge to a grand jury.”                Rule

48(b) has been held to apply only to post arrest delay and not to

any pre-arrest delay United States v. Marion, 404 U.S. 307, 319

(1971); United States v. McCoy, 977 F.2d 706, 712, n.6 (1st Cir.

1992).    See also, Wright, King & Klein, Federal Practice And

Procedure, Criminal 3d § 814, P. 352.       (“Rule 48(b), like the Sixth

Amendment right, applies only to delay after defendant has been

formally charged by indictment or information.”) However, defendant

Cole also cites to the United States Supreme Court case United

States v. Lovasco, 431 U.S. 783 (1977).           In Lovasco the Supreme

Court noted that it had previously said that the Due Process clause


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has a limited role to play in protecting against oppressive (pre-

indictment) delay.”       Id. at 789.      “Pre-indictment delay will be

sufficiently ‘oppressive’ to warrant dismissal of an indictment

where the delay was unreasonable and substantially prejudicial to

the defendant in the presentation of his case.”           United States v.

Bartlett, 794 F.2d 1285, 1289 (8th Cir. 1986).

           To prove a violation of his due process rights
           a defendant must establish that: (1) the delay
           resulted in actual and substantial prejudice
           to the presentation of the defense; and (2)
           the government intentionally delayed his
           indictment either to gain a tactical advantage
           or to harass him. The court will inquire into
           the reasons for delay only where actual
           prejudice has been established.      To prove
           actual    prejudice,    a    defendant    must
           specifically identify witnesses or documents
           lost during delay properly attributable to the
           government.    It is not sufficient for a
           defendant to make speculative or conclusory
           claims of possible prejudice as a result of
           the passage of time.      Finally, it is the
           defendant’s burden to show that the lost
           testimony or information is not available
           through other means.

United States v. Sturdy, 207 F.3d 448, 452 (8th Cir. 2000).
(Internal citations and quotations omitted).
           The defendant has not shown any actual and substantial

prejudice as a result of any delay in bringing the pending charges

against him.     In his motion he simply avers, without further

amplification, that “witnesses’ memories obviously fade over time

making interviews extremely difficult.”          Such speculative claims

fall short of the burden on the defendant to show actual and

substantial prejudice. United States v. Jackson, 446 F.3d 847, 851

(8th Cir. 2006).    The defendant also claims that he is prejudiced


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by the delay because he cannot properly prepare for trial on

account    of       the    volume      of    discovery    provided       to     him   by   the

government.         He made this same argument in his Motion To Continue

The Trial Setting (Docket No. 912) which was denied by Judge Perry

(Docket No. 957).

               Nor    has        the   defendant       shown    that     the     government

intentionally delayed his being charged in the indictment in order

to gain a tactical advantage or to harass him.                         In its response to

the defendant’s motion the government set out the reasons for the

delay in charging this defendant.                        The government’s response

clearly asserts good cause for the delay and demonstrates that any

delay    was    not       done    to   gain     any    tactical   advantage       over     the

defendant. United States v. Haskell, 468 F.3d 1064, 1070 (8th Cir.

2006).    See also, United States v. Lovasco, 431 U.S. at 790-795.

               Therefore, the defendant’s motion should be denied.

     2.        Motion To Suppress Electronic Surveillance
               (Docket No. 913)

               In    his    motion       the   defendant       seeks    to    suppress     any

evidence       obtained      by    the      government    through       court    authorized
“wiretaps” conducted in the investigation of this case.                               At the

hearing on the defendant’s motion counsel for the government stated

that the government did not intend to offer in evidence at trial

any conversations of the defendant intercepted and recorded as a

result of any court authorized wiretaps. Counsel for the defendant

acknowledged that as a result of this announcement, this motion was

moot.



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           Therefore, the defendant’s motion should be denied as

moot.

    3.     Motion For An Early Disclosure of Jencks Act Material And
           The Government’s Witness List (Docket No. 910)

           In his motion the defendant seeks early disclosure of the

names and statements of government witnesses.            The government is

not required to disclose the names or statements of its witnesses

prior to the trial of the case.        18 U.S.C. §3500; Rule 16(a)(2),

Federal Rules Of Criminal Procedure; United States v. Pelton, 578

F.2d 701, 707-08 (8th Cir.), cert. denied, 439 U.S. 964 (1978).
“Although in many cases the government freely discloses Jencks Act

material to the defense in advance of trial, the government may not

be required to do so.”      United States v. White, 750 F.2d 726, 729

(8th Cir. 1984); United States v. Wilson, 102 F.3d 968, 971-72 (8th

Cir. 1996).

           Therefore, the defendant’s motion should be denied.


           Accordingly,

           IT IS HEREBY RECOMMENDED that defendant Curtis Cole’s

Motion To Dismiss For Prosecutorial Delay Pursuant To Rule 48(b)

(Docket No. 911) be denied.

           IT IS FURTHER RECOMMENDED that defendant Curtis Cole’s

Motion To Suppress Electronic Surveillance (Docket No. 913) be

denied as moot.

           IT IS HEREBY ORDERED that defendant Curtis Cole’s Motion

For An Early Disclosure of Jencks Act Material And The Government’s

Witness List (Docket No. 910) is denied.

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           The parties are advised that any written objections to

these findings and determinations shall be filed not later than

October 5, 2012.    Failure to timely file objections may result in

waiver of the right to appeal questions of fact.           Thompson v. Nix,

897 F.2d 356, 357 (8th Cir. 1990).




                                         UNITED STATES MAGISTRATE JUDGE



Dated this 24th day of September, 2012.




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